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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 17-697-SJO

14              Plaintiff,                    [PROPOSED] ORDER CONTINUING
                                              SENTENCING AND MOTION HEARING DATE
15                    v.                      AND BRIEFING SCHEDULE

16   DANIEL FLINT,                            [PROPOSED] SENTENCING/MOTION
                                              HEARING DATE: 07/01/19 at 10 a.m.
17              Defendant.

18

19         The Court has read and considered the Stipulation Regarding
20   Request for (1) Continuance of Sentencing and Motion Hearing Date and
21   (2) Continuance of the Briefing Schedule, filed by the parties in
22   this matter on April 18, 2019.       The Court hereby finds that the
23   Stipulation, which this Court incorporates by reference into this
24   Order, demonstrates facts that support a continuance of the
25   sentencing and motion hearing date.
26   //
27   //
28   //
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 1         THEREFORE, FOR GOOD CAUSE SHOWN:
                                         [ECF #140]
 2         1.   The sentencing and motion hearing in this matter is

 3   continued from April 29, 2019, to July 1, 2019 at 10:00 a.m.

 4

 5         IT IS SO ORDERED.

 6

 7
        April 18, 2019
 8     DATE                                    HONORABLE S. JAMES OTERO
                                               UNITED STATES DISTRICT JUDGE
 9
      cc: PSA, USPO
10   Presented by:
11        /s/
      IAN V. YANNIELLO
12    Assistant United States Attorney
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